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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           OCALA DIVISION

PETER PARNELL, et al.,

      Plaintiffs,

v.                                             Case No. 5:23-cv-381-BJD-PRL

SCHOOL BOARD OF LAKE
COUNTY, FLORIDA, et al.,

      Defendants.
                                   /

                                  ORDER

      THIS CAUSE is before the Court on Defendants Escambia County

School Board and Keith Leonard’s (Collectively, the Escambia Defendants)

Time Sensitive Motion to Transfer Venue to the Northern District of Florida

(Doc. 71) filed September 6, 2023, and the Escambia Defendants’ Time

Sensitive Motion for Extension of Time to Respond to Plaintiffs’ Motion for

Preliminary Injunction (Doc. 75) filed September 7, 2023. The Court will

facilitate an expeditious resolution of the Motion to Transfer Venue and

requires Plaintiffs to respond. The Court expects strict adherence to the

deadlines in this Order.

      Accordingly, it is
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      ORDERED:

      1. Escambia Defendants’ Time Sensitive Motion to Transfer Venue to

         the Northern District of Florida (Doc. 71) is TAKEN UNDER

         ADVISEMENT.

      2. By September 13, 2023, Plaintiffs shall respond to Defendants’

         Motion (Doc. 71).

      3. Escambia Defendants’ Time Sensitive Motion for Extension of Time

         to Respond to Plaintiffs’ Motion for Preliminary Injunction (Doc. 75)

         is GRANTED in part.

               a. Defendants shall respond to Plaintiffs’ Motion for

                  Preliminary Injunction by September 15, 2023.

               b. Plaintiffs may reply to Defendants’ response by

                  September 20, 2023.

      4. The Hearing on Plaintiffs’ Motion for Preliminary Injunction is

         RESCHEDULED for FRIDAY, September 22, 2023, at 10:00

         A.M., before the Honorable Brian J. Davis, United States District

         Judge in the United States Courthouse Courtroom No. 12C, Twelfth

         Floor, 300 North Hogan Street, Jacksonville, Florida 32202.




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      DONE and ORDERED in Jacksonville, Florida this 7th day of

September 2023.




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Copies furnished to:
Counsel of Record




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